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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________
                                                   )
LOOMIS SAYLES TRUST COMPANY, LLC, )
individually and on behalf of all others similarly )
situated,                                          )
                                                   )
        Plaintiff,                                 )
                                                   )   Civil Case No. 22-cv-6706-LGS
        v.                                         )
                                                   )
CITIGROUP GLOBAL MARKETS INC.,                     )
                                                   )
                                                   )
        Defendant.                                 )
                                                   )

               PLAINTIFF LOOMIS SAYLES TRUST COMPANY, LLC’S
             MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT
            CITIGROUP GLOBAL MARKETS INC.’S MOTION TO DISMISS
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                                PRELIMINARY STATEMENT

       Citigroup’s motion to dismiss remarkably seeks to rewrite the facts of this case in an effort

to avoid responsibility for its egregious failures. Citigroup’s purported facts are contrary to what

the Complaint alleges and what the contemporaneous communications show. Citigroup’s bid,

therefore, must fail.

       This case involves a large set of trades that Citigroup agreed to execute as broker for LSTC

and the Class. The Complaint clearly alleges that Citigroup’s mandate was to “exercise its

discretion to execute the trades in a manner that did not materially impact the prices of the

securities being traded, including its discretion as to the order type, size, timing and price for the

trades” and that the trades did not need to be completed that day. Compl. ¶¶ 35-38. It further alleges

that Citigroup breached its duty of best execution, placed the entirety of the orders into the closing

auction, flooded the market, and caused tens of millions of dollars in losses. Id. ¶¶ 51-58. These

allegations are based on the parties’ contemporaneous communications.

       Citigroup, however, ignores the Complaint’s allegations, mischaracterizes the parties’

communications, and injects its own, unsupported translation of technical trader jargon to assert

that Citigroup lacked discretion. Citigroup asserts that the “true” instructions were for Citigroup

to dump the entirety of the Affected Orders into the closing auction and that it, therefore, was

simply executing as directed. Citigroup’s construction of the record is not reasonable or persuasive,

let alone conclusive, and must fail at this stage. Loomis never instructed Citigroup as it now claims,

and, at all times, was clear that the discretion lay with Citigroup, the Affected Orders did not need

to be completed the same day, and Citigroup should only execute the orders in a manner that did

not materially impact price. The Complaint plausibly states claims for breach of contract and

fiduciary duty based on Citigroup’s actions before and during the closing auction.



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       Citigroup also incorrectly asserts that the claims are foreclosed by SLUSA. SLUSA only

applies where the plaintiff’s claims are based on allegations that the defendant made a material

misrepresentation or employed a manipulative or deceptive device. Citigroup’s contrived reading

of the contemporaneous communications to identify a fraud claim that could have been alleged

must fail. The communications do not support fraud and that is not what this case is about. LSTC’s

claims also do not require a material misrepresentation as a necessary component.

       Finally, LSTC’s breach of fiduciary duty claim arises from Citigroup’s duties as broker

and agent, which are independent of the specific terms of the parties’ agreement. As such, this

claim is not duplicative of LSTC’s breach of contract claim.

       The Court should reject Citigroup’s improper effort to have its contrived factual

interpretation govern on a motion to dismiss and deny the motion in its entirety.

                                  FACTUAL BACKGROUND

       In March 2022, LSTC and Loomis, Sayles & Company, L.P. (“Loomis”) undertook to

rebalance the holdings in Loomis’s Growth Equity Strategies (“GES”) portfolios. Compl. ¶ 28.

On March 18, Loomis and LSTC engaged Citigroup as broker to execute several large orders for

the class. Id. ¶ 1. They looked to Citigroup’s significant experience as a broker, both in trading on

the New York Stock Exchange (“NYSE”) and in handling large trade orders, see id. ¶ 24, as well

as its familiarity with Loomis’s GES portfolios, see id. ¶ 23.

       March 18, 2022, known as a triple or quadruple “witching” day, was a day with

considerably more liquidity than on typical trading days. Id. ¶ 27. Certain large indices were due

to rebalance; stock index options and stock index futures were expiring in the open auction; and

single stock options were expiring in the closing auction. Id. The closing auction is the final event

of the trading day and is a single-price auction that matches orders at the price that maximizes the

amount of tradeable stock. Id.
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         On March 18, 2022, LSTC and Loomis placed two “waves” of trade orders with Citigroup

to execute as broker. Id. ¶ 29. Each order was accompanied by explicit and distinct instructions

that were conveyed by Nicholas Gagnon, Loomis’s Director and Head of Trading for GES, to

Joseph Chiomastro, the primary Citigroup trader for equity orders in Loomis’s GES portfolios. Id.

¶¶ 26, 29; Dkt. 37-1 at 2:18:03 p.m., 2:30:11 p.m.1

         At 2:30 p.m., Gagnon placed the second wave of orders with Citigroup. Compl. ¶ 34; Dkt.

37-1 at 2:30:11 p.m. It is this second wave and Citigroup’s handling of those orders that give rise

to the damages in this case. The second wave included orders to buy 780,856 shares in Shopify,

Inc. (“SHOP”) and sell 5,236,139 shares in Colgate-Palmolive Company (“CL”) (together, the

“Affected Orders”). Compl. ¶ 34. The second wave was accompanied by instructions to

Chiomastro to “wave out what you think is good for an aggressive MOC piece,” “trade the rest

best way,” and “can be most aggressive near the close.”2 Id. ¶ 36. Gagnon explicitly stated that the

orders in the second wave “[d]o not have to be complete[d]” the same day. Id. (emphasis added);

Dkt. 37-1 at 2:30:11 p.m. As trade the rest “best way” indicates, these instructions included the

directive that Citigroup use its discretion as an experienced broker to execute the trades in a manner

that did not materially impact price. Compl. ¶ 35. This included Citigroup’s discretion as to the

order type, size, timing, and price for the trades, as well as discretion to use the variety of tools it




1
 In LSTC’s view, the Complaint is wholly adequate, alone, to support denial of Citigroup’s motion to dismiss. Use
of the Bloomberg chat and call transcripts that Citigroup attached to its motion do not alter the conclusion that the
motion should be denied. See Dkt. 37-1 to -3. For the Court’s convenience, LSTC will cite to the exhibits attached by
Citigroup (without conceding that the exhibits are true, correct, or complete transcripts of the chat and telephone calls)
and does not agree to Citigroup’s incorrect interpretation of those communications.

2
  “Near the close” means before the closing auction. See Compl. ¶ 39. These instructions provided via Bloomberg are
in technical trader jargon. The Complaint provides allegations as to the meaning of these instructions, and Citigroup
offers no appropriate basis to reject the Complaint’s construction of these instructions or any other trader jargon in the
underlying communications.

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had available to it. Id. ¶¶ 35, 37. Through Chiomastro, Citigroup accepted the second wave of

orders and the accompanying instructions. Id. ¶ 38.

        After Gagnon placed the second wave of orders at 2:30 p.m. and relayed the details and

instructions to Chiomastro on Bloomberg, he asked Chiomastro to “[g]ive [him] a call to confirm

[these instructions] once ready.” Dkt. 37-1 at 2:30:11 p.m. During that call, which began at 2:32

p.m., Chiomastro confirmed the instructions and acknowledged that he understood them.

Specifically, Chiomastro made clear that he understood that he was to conduct the liquidity

analyses to see what the market could bear and he preliminarily relayed that there would be “tons

of liquidity” in the closing auction and that he would nevertheless “do the analysis” to get a better

picture of that liquidity. Dkt. 37-2 at 2. He further stated, “once we do that analysis . . . we’ll have

a better picture of . . . how we’re going to slice this out.” Id. at 2-3. While Chiomastro expressed

his hope that “we can do all of it on the close,” he confirmed his understanding that the orders “do

not need to be done” that day. Id.

        The communications make clear that Chiomastro understood that Citigroup had the

discretion to decide how and when to place the trades based on the liquidity that it discerned.

Towards the end of the 2:32 p.m. call, Chiomastro confirmed that as to the second wave, “we’re

not going to work anything early” unless Citigroup had “an order on the other side.” Id. at 3-4.

Gagnon responded that “we definitely wouldn’t complain” if “you got something in CL or SAM

early.” Id. at 4. Gagnon then confirmed that, the “other stuff um, yeah, it’s your discretion.” Id.

(emphasis added). Chiomastro responded: “Perfect.” Id.

        From then until the closing, Chiomastro provided Loomis with periodic updates via

Bloomberg. The first of these messages contained a chart accompanied by the text “[e]xpected

street trade.” Dkt. 37-1 at 2:49:19 p.m. Twenty seconds later, Chiomastro informed Loomis that



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he had placed four of the nine securities in the second wave “down all MOC already,” and that he

would “be monitoring imbalances in the others but expect to get most done as discussed.” Id. at

2:49:40 p.m. As this update demonstrates, Chiomastro understood that Citigroup had discretion

and did not need further instructions, beyond those given to him at 2:30 p.m., to decide how and

when to place the trades.

       From 2:49 p.m. to 3:22 p.m., the chat was entirely one-sided, with Chiomastro sending

updates to Loomis regarding his work on the trades, and Loomis providing no response. For

example, at 3:11 p.m., Chiomastro sent a chart comparing the size of the orders to the “[e]xpected

street trade,” accompanied by a message that the chart “[r]eiterate[d] [their] chat re SAM.” Id. at

3:11:10 p.m. At 3:22 p.m., Chiomastro shared that SLB “ke[pt] pairing,” so he decided to put SLB

“all MOC.” Id. 3:15:15 p.m. – 3:15:38 p.m.; 3:22:08 p.m. These updates reflect Chiomastro’s

understanding of his authority to act using his discretion, without the need for additional

permissions from Loomis. Nothing in the correspondence suggests that the original instructions to

Citigroup, including that it use its discretion, changed.

       At 3:22 p.m., Loomis’s Daniel Maturi sent a message alerting Chiomastro that Loomis was

going to add to both waves of orders. Id. at 3:22:34 p.m. Chiomastro responded: “Are they same

instru[ctions]?” Id. at 3:23:22 p.m. After the additions to the first wave had been transmitted,

Maturi confirmed that the instructions remained the same as those provided around 2:18 p.m. Id.

at 3:26:09. And, after the additions to the second wave were transmitted, Gagnon confirmed the

instructions remained the same as those provided around 2:30 p.m. for the shares added to the

second wave. Id. at 3:41:51 p.m. – 3:42:15 p.m. (“Same instruction all.”).

       At 3:31 p.m., Gagnon and Chiomastro spoke by phone for the first time since their call an

hour earlier. Chiomastro said it was “still very early,” and he was calling to get Gagnon’s thoughts



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on a LOC level in the event that Chiomastro had not yet decided to place all the orders “around

kinda the last few minutes.” Dkt. 37-3 at 2. Gagnon asked, “how many are you thinking you’ll use

. . . LOC?”, again demonstrating that Citigroup was setting the course in its discretion. Id.

Chiomastro replied that he was “hoping” just CL and SAM, though he still had CL, SAM, SHOP,

and ADP “in hand.” Id. at 3. Chiomastro did not inquire about LOC levels for the remaining

securities.

        As to CL, Gagnon, consistent with the instructions that Citigroup had discretion and did

not need to be done that day, asked, “what percent do you think you’ll be done, um, excluding

whatever we have to do, limit on close?” Id. Chiomastro responded that it was “tough to say right

now,” but that he would give Gagnon a call back in 15 minutes “with a little bit more guidance on

kinda where we are.” Id. Gagnon replied that he saw some buyers in CL, so he was “thinking it’s

gonna be fine.”3 Id. Near the conclusion of the call, Chiomastro stated that he did “think that CL

we just end up being down there all MOC, we don’t probably even need an LOC.” Id. He then

stated that he would call Gagnon back in ten minutes. Id. at 3-4. To this final logistical note from

Chiomastro, Gagnon replied, “[t]hat sounds perfect.” Id. at 4. Chiomastro did not, however, call

back.

        As to SHOP, Chiomastro provided an update via Bloomberg at 3:44 p.m.—i.e., six minutes

before the closing auction cutoff—regarding an imbalance of 440,000 shares “to buy” in SHOP,

with 40,000 shares paired off. Dkt. 37-1 at 3:44:03 p.m. He also noted that “I have 346k SHOP in

hand,” and “[t]he rest is MOC.” Id. at 3:44:14 p.m. – 3:44:18 p.m. Four minutes later, Gagnon

asked Chiomastro a question: “looking to complete all except maybe SAM?” Id. at 3:48:50 p.m.

At the time he asked this question, Gagnon was aware he had instructed Chiomastro to be


3
  It is not clear what “fine” modifies in Gagnon’s statement; the preceding discussion does not include a statement
from either speaker that all CL orders will be placed as MOC.

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“aggressive near the close,” Compl. ¶ 36; that Chiomastro was of the view that there was plenty

of liquidity, see, e.g., Dkt. 37-2 at 2; and that Chiomastro’s last position on SHOP before the close

was that he had “346k SHOP in hand,” Dkt. 37-1 at 3:44:14 p.m., indicating he had not placed

those shares into the closing auction. Just thirty seconds before the final auction began, Chiomastro

answered, “yes” to Gagnon’s question. Dkt. 37-1 at 3:49:29 p.m. A minute later, Chiomastro

informed Loomis that he “ha[d] all down now MOC x SAM.” Id. at 3:50:26.

        Chiomastro’s actions flooded the market. Compl. ¶ 1. Yet neither he nor anyone else at

Citigroup took any corrective action. Id. Citigroup made no attempt to cancel or reduce the size of

the Affected Orders pursuant to NYSE rules, and it failed to involve the NYSE and/or the

Designated Market Maker (“DMM”) to suspend the auction to address the extreme order

imbalance that Citigroup caused. Id. ¶¶ 1, 59-60.

        By placing the entirety of the Affected Orders as MOC orders—and doing so in part just

seconds before the cutoff time for the closing auction—Citigroup caused artificial price dislocation

which resulted in execution at inflated prices. Id. ¶ 1. Citigroup purchased the entire volume of

SHOP at a price that spiked significantly (by nearly $100 per share) as a result of Citigroup’s failed

execution, causing over $60 million in needless losses. Id. ¶ 54. It also placed the entire volume of

CL into the closing auction, causing the price to drop, and resulting in over $10 million in needless

losses. Id. ¶ 55.

                                       LEGAL STANDARD

        To survive dismissal, “a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

In considering a motion to dismiss, the court must accept the plaintiff’s allegations as true and

make all reasonable inferences in its favor. McCarthy v. Dun & Bradstreet Corp., 482 F.3d 184,

191 (2d Cir. 2007). Where the claims require contract interpretation, the court resolves any
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ambiguities regarding interpretation in the plaintiff’s favor. Am. S.S. Owners Mut. Prot. & Indem.

Ass’n v. Carnival PLC, 2022 U.S. Dist. LEXIS 173581, at *7 (S.D.N.Y. Sept. 26, 2022).

Consistent with these principles, courts deny motions to dismiss where the parties present

competing interpretations of the contractual terms at issue. See, e.g., Locus Techs. v. Honeywell

Int’l Inc., 2022 U.S. Dist. LEXIS 179349, at *19 (S.D.N.Y. Sept. 30, 2022); In re Allianz Glob.

Invs. U.S. LLC Alpha Series Litig., 2021 U.S. Dist. LEXIS 188650, at *52 (S.D.N.Y. Sept. 30,

2021) (declining to delineate the scope of contractual obligations because, at the pleading stage,

“the parties have not had the opportunity to brief their arguments as to the meaning of . . . th[e]se

terms in the context of their agreement”); Serdarevic v. Centex Homes, LLC, 760 F. Supp. 2d 322,

333 (S.D.N.Y. 2010); Maniolos v. United States, 741 F. Supp. 2d 555, 567 (S.D.N.Y. 2010).

        Citigroup’s motion to dismiss violates all of these precepts and asks this Court to ignore

the allegations in the Complaint and misconstrue the contemporaneous communications in its

favor to escape responsibility for its failures.

                                            ARGUMENT

I.      THE COMPLAINT PLAUSIBLY ALLEGES CITIGROUP BREACHED
        CONTRACTUAL AND FIDUCIARY DUTIES TO LSTC AND THE CLASS.

        A.      Citigroup’s Unreasonable Interpretation of the Underlying Communications
                Cannot Be the Basis of Dismissal.

        Citigroup argues that it did not breach any contractual or fiduciary duties because all it had

to do, and all it did, was follow a purported instruction by Loomis to place the entirety of the

Affected Orders as MOC orders. Citigroup’s argument must fail because it hinges on the Court

accepting its improper and inaccurate construction of contemporaneous communications. LSTC’s

Complaint presents a reasonable interpretation of the contemporaneous instructions provided to

Citigroup in connection with the Affected Orders and plausibly alleges that those instructions

included that Citigroup use its discretion in executing the orders. Compl. ¶¶ 35-36. That discretion

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gave rise to certain obligations, including to make reasonable judgements on how to execute based

on Citigroup’s experience, its access to information, and its duty of best execution. The Complaint

alleges that Citigroup failed those obligations.

         Citigroup, however, introduces a competing view on the meaning of the contemporaneous

communications and the instructions for the Affected Orders. While consideration of the

communications at this stage is not foreclosed, Citigroup’s desire to dispense with the Complaint

and have its unilateral construction serve as the basis for dismissal must be rejected. See Locus

Techs., 2022 U.S. Dist. LEXIS 179349, at *19.

         First, the parties do not agree about “whether and how” the post-2:30 p.m. chats and calls

“relate[] to the contractual relationship.” See Nicosia v. Amazon.com, Inc., 834 F.3d 220, 235 (2d

Cir. 2016). Second, while LSTC does not contest the accuracy of the transcripts for the purpose of

this motion, it vehemently contests the accuracy of Citigroup’s interpretation of those transcripts.

In contriving its own version of the events, Citigroup relies on a host of disputed facts, trader

jargon, and a selective and misleading recitation of the communications (despite accusing LSTC

of doing the same). Citigroup is well aware that trader jargon often requires translation by experts

intimately familiar with the industry, and such translations are critical.4 As such, the Court should

not accept Citigroup’s unilateral interpretation of the communications. It is not the Court’s “task

at [the pleadings] stage to construe . . . abundant industry jargon . . . in any definitive fashion.”

Loreley Fin. (Jersey) No. 3 Ltd. v. Wells Fargo Sec., LLC, 797 F.3d 160, 175-76 (2d Cir. 2015).




4
  In a 2019 lawsuit filed against Citigroup, a former trader alleged that his manager at Citigroup misleadingly
“decoded” technical trader jargon in chat communications for the U.S. Department of Justice (“DOJ”) in a manner
that falsely implicated him and led to his indictment for antitrust violations. See Ramchandani v. CitiGroup, Inc., Dkt.
1 (S.D.N.Y. Oct. 2, 2019). The DOJ acknowledged that, since the “communications in the chatroom were often filled
with dense jargon, describing highly technical trading strategies that were frequently conveyed in shorthand[,] DOJ
investigators were, on their own account, . . . simply unable to understand the meaning of many of the chatroom
communications themselves.” Id. ¶ 167.

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       B.      The Complaint Plausibly Alleges That Loomis Instructed Citigroup to Use Its
               Discretion to Execute the Affected Orders, and Citigroup’s Alternative
               Interpretation Is Contradicted by the Underlying Communications.

       The Complaint’s allegations that Loomis instructed Citigroup to exercise its discretion,

including “as to the order type, size, timing and price for the trades,” to execute the trades in a

manner that did not materially impact price, Compl. ¶ 35, are consistent with and supported by the

contemporaneous communications. Loomis expressly instructed Citigroup to “wave out what you

think is good for an aggressive MOC piece,” “trade the rest best way,” and “can be most aggressive

near the close.” Id. ¶ 36. Loomis also instructed that the Affected Orders “[did] not have to be

complete[d].” Id. ¶¶ 1, 35-36, 40. The Bloomberg chats and call transcripts confirm that Citigroup

had wide discretion in executing the trades and belie Citigroup’s interpretation. Perhaps most

telling is the exchange at the end of the 2:32 p.m. telephone call, in which Gagnon expressly

confirmed that the decision to “work [the orders] early” was in Chiomastro’s “discretion,” to which

Chiomastro responded, “[p]erfect.” Dkt. 37-2 at 5. The few subsequent questions from Gagnon to

Chiomastro were just that—questions about whether and how Chiomastro, in his discretion, was

intending to execute the orders. See Dkt. 37-3 at 2 (“[H]ow many are you thinking you’ll use . . .

LOC?”); id. at 3 (“CL what percent do you think you’ll be done . . . ?”); Dkt. 37-1 at 3:48:50 p.m.

(“And looking to complete all except maybe SAM?”).

       A fair reading of the underlying communications belies the interpretation advanced by

Defendant. First, Citigroup’s position that Gagnon instructed it to proceed with MOC orders for

the entirety of the Affected Orders rests on several mischaracterizations of the communications

advanced by Defendant. See Dkt. 36 at 10. For example, as to CL, Citigroup contends that, in a

phone call with Chiomastro, “Mr. Gagnon concluded it would be ‘fine’ to place the CL orders as

MOC.” Id. at 13. Citigroup’s assertion that Gagnon reached or communicated a “conclusion” is

inaccurate, for at least two reasons: (1) Gagnon actually says, “[s]o I’m thinking it’s gonna be
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fine,” conveying far less certainty and authority than Citigroup suggests, and (2) the preceding

discussion does not include a statement from either speaker that all CL orders will be placed as

MOC. Instead, Gagnon asks a question—“CL what percent do you think you’ll be done, um,

excluding whatever we have to do, limit on close?”—suggesting an understanding that at least

some CL was likely to be placed as LOC. Dkt. 37-3 at 3. Citigroup also suggests that Gagnon’s

reply of “[t]hat sounds perfect,” id. at 4, responds to, and immediately follows, the comment from

Chiomastro that, “I do think that CL we just end up being down there all MOC.” Dkt. 36 at 8, 13.

Citigroup’s characterization is plain wrong. It omits more than six lines of text between

Chiomastro’s comment and Gagnon’s reply. The reasonable reading of this exchange is that

Gagnon’s reply of “[t]hat sounds perfect” was directed at this final logistical note from

Chiomastro, “maybe I’ll give you a call back in 10 minutes,” rather than to the prior comments on

CL.

         As to SHOP, Citigroup contends that right before the close of trading, Gagnon issued a

“directive” that Chiomastro “‘complete all’ of the trades.” Dkt. 36 at 13. Citigroup omits a critical

question mark. Gagnon asked Chiomastro, “looking to complete all except maybe SAM?” Dkt.

37-1 at 3:48:50 p.m. Gagnon was asking Chiomastro what he intended to do, not instructing him

to take this course of action.5 This was by no means a “directive” that Chiomastro “complete all”

of the trades, as Citigroup contends. Dkt. 36 at 13.

         Second, the communications refute Citigroup’s assertion that instructions were provided to

Citigroup “throughout the day” on March 18. Id. at 2. To the contrary, they confirm Chiomastro’s

understanding that, unless Loomis expressly stated otherwise, the initial instructions stood. When



5
 Citigroup’s interpretation of “looking to complete all” assumes that the phrase is synonymous with placing the entire
order MOC in the closing auction. It is not. It was possible to “complete” an order without placing the entirety of that
order into the closing auction including, for example, by executing some volume before the auction.

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Maturi told Chiomastro that he would “have some add ons” to both waves of orders, Chiomastro

responded, “[a]re they same instru[ctions]?” Dkt. 37-1 at 3:22:34 p.m. – 3:26:16 p.m.; 3:42:51

p.m. – 3:42:15 p.m. This demonstrated that Chiomastro understood the initial instructions as to

both waves remained binding. Citigroup’s assertion that it was in “constant communication

regarding how Loomis wanted [Citigroup] to execute the second wave of trades” is similarly not

accurate. Dkt. 36 at 13. Gagnon and Chiomastro spoke by phone at 2:32 p.m., just after the second

wave of orders, and did not speak on the phone again until nearly an hour (or, according to

Chiomastro, nearly a “lifetime”) later, at 3:31 p.m. Dkt. 37-2 at 5.

        Chiomastro’s intermittent communications with Loomis via Bloomberg reflect a few

unilateral updates regarding the orders. That Chiomastro provided updates is not surprising given

Gagnon’s request that Chiomastro “just let [Loomis] know how it’s going,” nor does it change the

substantive instructions provided at the outset. Id. at 3. This request was consistent with

Chiomastro’s duty as agent “to use reasonable efforts to give his principal information relevant to

the affairs entrusted to him and which, as the agent has notice, the principal would desire to have.”

Restatement (Second) of Agency, § 381.6

        C.       Citigroup Owed LSTC and the Class Contractual Duties and a Common Law
                 Fiduciary Duty of Care, Including the Duty of Best Execution.

        The Complaint alleges that Citigroup owed contractual duties arising from the instructions

provided by Loomis as well as common law fiduciary duties as broker and agent. The contractual

duties included that Citigroup exercise its reasonable discretion to execute the orders in a manner

that would not materially impact price. Moreover, as an implied term of the contract or an



6
  The delineation of responsibilities between Loomis and Citigroup was entirely consistent with their principal-agent
relationship. Citigroup is a global broker with significant experience trading on the NYSE and handling large orders.
Compl. ¶ 24. Loomis is not. It is, therefore, reasonable to infer that Loomis chose to hire Citigroup because of its
superior experience and access to information, and that Loomis sought to leverage Citigroup’s strengths by directing
it to execute in the best way using its discretion.

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independent obligation arising from Citigroup’s role as agent (or both), Citigroup owed the duty

of best execution. Compl. ¶¶ 40-41. As described by the SEC, “[a] broker-dealer’s duty of best

execution derives from common law agency principles and fiduciary obligations . . . . This duty of

best execution requires a broker-dealer to seek the most favorable terms reasonably available under

the circumstances for a customer’s transaction.” Exchange Act Release No. 37619A (Sept. 6,

1996), 61 FR 48290, 48322 (Sept. 12, 1996); see also Newton v. Merrill, Lynch, Pierce, Fenner &

Smith, 135 F.3d 266, 270 (3d Cir. 1998).

       Citigroup, however, argues that it did not owe LSTC the duty of best execution because it

“did not have ‘discretionary trading authority’” over the accounts and that its “only duty” was “the

proper execution of transactions upon explicit customer instructions.” Dkt. 36 at 18. Citigroup

relies on two cases unrelated to the duty of best execution. See In re Refco Sec. Litig., 759 F. Supp.

2d 301, 323 (S.D.N.Y. 2010); Press v. Chem. Inv. Servs. Corp., 166 F.3d 529, 536 (2d Cir. 1999).

The cases cited by Citigroup merely stand for the unremarkable proposition that “the fiduciary

obligation that arises between a broker and a customer as a matter of New York common law is

limited to matters relevant to affairs entrusted to the broker.” Press, 166 F.3d at 536; accord In re

Refco Sec. Litig., 759 F. Supp. 2d at 323 (citation omitted).

       As alleged, Loomis entrusted Citigroup with the discretion to execute the orders in a

manner that would not materially impact the price. Compl. ¶¶ 1, 35-37. Citigroup thus owed a

fiduciary duty, including the duty of best execution, in connection with the Affected Orders. Id. ¶¶

77-78. As the Second Circuit has recognized, “particular factual circumstances may serve to create

a fiduciary duty between a broker and his customer even in the absence of a discretionary

account.” United States v. Wolfson, 642 F.3d 293, 295 (2d Cir. 2011) (emphasis in original)

(quoting United States v. Skelly, 442 F.3d 94, 98 (2d Cir. 2006)); see also Saboundjian v. Bank



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Audi, 556 N.Y.S.2d 258, 259 (App. Div. 1st Dept. 1990) (“The relationship between a customer

and his stockbroker is that of principal and agent; the duty owed by the stockbroker is that of a

fiduciary.”); De Kwiatkowski v. Bear, Stearns & Co., 306 F.3d 1293, 1302 (2d Cir. 2002) (“On a

transaction-by-transaction basis, the broker owes duties of diligence and competence in executing

the client’s trade orders . . . .”).

        In apparent recognition of its duty of best execution, Citigroup attempts to limit the duty

to “select[ing] the most favorable venue for a customer’s trades.” Dkt. 36 at 17. But the duty of

best execution is not so narrow. FINRA Rule 5310, cited both in the Complaint and by Citigroup

as giving shape to the duty of best execution, provides that members “shall use reasonable

diligence to ascertain the best market for the subject security and buy or sell in such market so that

the resultant price to the customer is as favorable as possible under prevailing market conditions.”

FINRA, Rule 5310 (2014) (emphasis added); see also Forex Transactions Litig. v. Bank of N.Y.

(In re Bank of N.Y. Mellon Corp.), 921 F. Supp. 2d 56, 76 (S.D.N.Y. 2013); Exchange Act Release

No. 37619A (Sept. 6, 1996), 61 FR 48290, 48322 (Sept. 12, 1996); Newton, 135 F.3d at 270.

Therefore, the duty of best execution includes not only the duty to ascertain the best market, but

also to buy or sell in that market in such a way so as to achieve the most favorable price possible

under the circumstances.

        D.       The Complaint Plausibly Alleges That Citigroup Breached Its Contractual
                 and Fiduciary Duties.

        The Complaint contains detailed allegations concerning the several ways that Citigroup

breached its duties to LSTC and the Class. See Compl. ¶¶ 56-60, 78; see also id. ¶¶ 48-49.

Citigroup asserts that it did not breach its duties because (1) it conducted an analysis of liquidity

and imbalance data; (2) it could not have corrected any Legitimate Error under the NYSE rules;

and (3) it could not or need not have taken any of the other available measures alleged in the


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Complaint. Because the Complaint, taken (as it must) as true, makes plausible allegations in each

of these respects, Citigroup’s arguments fail.

       First, the Complaint alleges that Citigroup failed to conduct an appropriate analysis of the

volume that the market could bear in the closing auction for SHOP and CL without materially

affecting price, and that it further failed to monitor and react appropriately to the order imbalances.

Citigroup contends that it did conduct an analysis of liquidity and imbalance data and that it relayed

the information to Loomis. Dkt. 36 at 14. The “liquidity analysis” to which Citigroup refers is the

chart of “street” trades transmitted by Chiomastro at 3:11 p.m. (an earlier version of which he

transmitted at 2:49 p.m.) Id. It is not clear what, if any, import these numbers actually had on

Chiomastro’s trading decisions or how these figures related, if at all, to liquidity at closing auction.

Nor is there any assertion that Citigroup analyzed liquidity at any time after 3:11 p.m. as the closing

auction grew near. Citigroup was required to appropriately and reasonably analyze liquidity on an

ongoing basis over the course of trading, including in the minutes leading into the closing auction,

to determine the type, size, and price of the orders to place at the 3:50 p.m. cutoff time for the

closing auction. Compl. ¶¶ 1, 39, 48, 56. Citigroup failed to do so. The single blurb at 3:11 p.m. in

no way establishes that Citigroup satisfied its obligations.

       The same is true of Citigroup’s obligations to monitor imbalance data. While Citigroup

claims that Chiomastro “monitored the imbalance data,” including for SHOP at 3:44 p.m., it cannot

overcome LSTC’s allegation that it failed to adequately monitor and react to imbalance data,

including after 3:50 p.m. Id. ¶¶ 49, 56, 59. Citigroup provides no support for its contention that

reporting imbalance data at a single moment in time satisfied its obligations or justified dumping

the entirety of the Affected Orders into the closing auction immediately before the cutoff time. Id.

¶ 50; see also Dkt. 37-1 at 3:49:29 p.m. – 3:50:26 p.m. This is particularly true given that



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imbalances “might exist at the Close more quickly.” Dkt. 37-4 at 2. Citigroup’s only response is

to claim that Gagnon “received and digested” the imbalance data and “subsequently decided to

proceed with MOC orders for the full CL and SHOP orders.” Dkt. 36 at 14-15. But, as explained

above, Citigroup’s central contention that Gagnon instructed Chiomastro to place the entirety of

the Affected Orders as MOC orders fails. See supra Point I.B. Accordingly, Citigroup’s claim that

it conducted a reasonable analysis of liquidity and imbalance data should be rejected.

        Second, the Complaint alleges that Citigroup could have avoided the losses by making use

of the NYSE rule that permits cancellation or modification of orders in cases of “legitimate error.”

Compl. ¶ 59. Citigroup claims that “[t]here was no error to be corrected,” repeating its fabrication

that Loomis instructed Chiomastro to place the entirety of the Affected Orders as MOC orders.

Citigroup makes the conclusory assertion that the error alleged—i.e., an error “in analyzing the

appropriate number of shares to enter into the closing auction”—is not the “sort of ‘legitimate

error’” in “number of shares” contemplated by the NYSE Rules. Dkt. 36 at 15-16. The Complaint

alleges to the contrary, and at this stage, without any evidence regarding the scope of the NYSE

rule, Plaintiff’s allegation prevails.

        Third, the Complaint alleges that Citigroup failed to take other available measures to avoid

losses. Citigroup claims that “[t]he Complaint makes no allegation about why the obligation was

on [Citigroup] to contact NYSE or the DMM,” id. at 16. However, the Complaint specifically

alleges that Citigroup, “as a matter of its duty,” should have attempted to take steps to remediate

its failing, including, for example, “utilizing its on-floor trading staff and/or contacting the NYSE

on-floor ramp and other staff, and/or involved the Designated Market Maker to suspend the auction

for dislocation, call for more liquidity, and/or cancel orders in the auction.” Compl. ¶ 60.

        Citigroup’s motion should be denied.



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II.    PLAINTIFF’S CLAIMS ARE NOT PRECLUDED BY SLUSA.

       Citigroup next argues that the case should be dismissed because it is, in its view, a fraud

case precluded by SLUSA. It is not. SLUSA only precludes claims where the plaintiff alleges that

the defendant made “‘a misrepresentation or omission of a material fact’ or ‘used or employed any

manipulative or deceptive device or contrivance.’” Rayner v. E*Trade Fin. Corp., 899 F.3d 117,

119-20 (2d Cir. 2018). Courts in the Second Circuit have held that a complaint alleges a material

misrepresentation for purposes of SLUSA when it alleges “an explicit claim of fraud or

misrepresentation” or claims that “sound in fraud.” In re Stillwater Cap. Partners Inc. Litig., 851

F. Supp. 2d 556, 568-69 (S.D.N.Y. 2012) (citations omitted). “If the allegation is extraneous to the

complaint’s theory of liability, it cannot be the basis for SLUSA preclusion.” In re Kingate Mgmt.

Litig., 784 F.3d 128, 142-43 (2d Cir. 2015).

       While courts “look beyond the face of the complaint to analyze the substance of the

allegations made,” the central question for SLUSA is whether the purported misrepresentation is

a “necessary component of the claim.” Stillwater, 851 F. Supp. 2d at 568-69; see also Grund v.

Del. Charter Guar. & Tr. Co., 788 F. Supp. 2d 226, 241 (S.D.N.Y. 2011); Xpedior Creditor Tr. v.

Credit Suisse First Bos. (USA), Inc., 341 F. Supp. 2d 258, 266 (S.D.N.Y. 2004). Just as a plaintiff

may not escape SLUSA by so-called “artful pleading,” a defendant may not escape liability by

recasting the plaintiff’s Complaint as a securities fraud so as to have it precluded. Rupnow v.

E*TRADE Sec., LLC, 2021 U.S. Dist. LEXIS 235975, at *9 (S.D.N.Y. Dec. 9, 2021) (quoting Paru

v. Mut. of Am. Life Ins. Co., 2006 U.S. Dist. LEXIS 28125, at *4 (S.D.N.Y. May 11, 2006)).

       Here, the Complaint does not allege fraud, nor is misrepresentation a necessary component

of the claims. LSTC alleges that Citigroup breached its contract as to the second wave orders,

which included the binding instructions provided at 2:30 p.m. requiring Citigroup to use its

discretion to determine a reasonable volume to place as MOC orders without materially impacting
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price, place the rest of the orders in the best way possible, and provide best execution. Compl. ¶¶

23-24, 34-42, 70-74; Dkt. 37-1 at 2:30:11 p.m. The Complaint further alleges that, as a broker and

agent, Citigroup owed Plaintiff a fiduciary duty of care, which it failed to discharge by placing the

entirety of the Affected Orders as MOC orders and then by failing to take any remedial actions

despite the fact that there was inadequate liquidity in the market. Id. ¶¶ 77-79.

       SLUSA is inapplicable where, as here, a plaintiff makes contract and duty-based claims

that do not require showing fraudulent conduct on the part of the defendant. See, e.g., Stillwater,

851 F. Supp. 2d at 556; Rupnow, 2021 U.S. Dist. LEXIS 235975, at *10-15; Paru, 2006 U.S. Dist.

LEXIS 28125, at *9-11. Claims for breach of contract “generally fall outside the scope of the

securities laws, because failing to carry out a promise made in connection with a securities

transaction . . . does not [constitute fraud] unless, when the promise was made, the defendant

secretly intended not to perform or knew that he could not perform.” Stillwater, 851 F. Supp. 2d

at 573 (emphasis added).

       Rupnow v. E*TRADE Sec., LLC is on point. 2021 U.S. Dist. LEXIS 235975, at *13. There,

the court rejected defendant’s argument that plaintiff’s breach of contract claim alleging that

E*TRADE failed to disclose certain costs was a “disguised” misrepresentation claim because

“Plaintiffs [did] not allege that E*TRADE intended not to perform the Agreement.” Xpedior

Creditor Trust is also illustrative. 341 F. Supp. 2d at 269. There, the court held that breach of

contract and fiduciary duty claims were not precluded by SLUSA where the plaintiff alleged only

that the defendant “acted contrary to its express and implied duties” and made no “allegations

about [defendant’s] mental state” at the time that the parties entered into the contract, and the

claims required “no evidence of [defendant’s] mental state at all.” Id.




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       Here, LSTC asserts only that Citigroup violated its “express and implied duties” under the

parties’ agreement and other duties based on its fiduciary role as broker. Like in Rupnow and

Xpedior Creditor Trust, nowhere has LSTC alleged that, at the time Citigroup accepted the

Affected Orders and took on the role of broker, it held some secret intention not to perform or

knew it would be unable to do so. Nor do the underlying communications suggest such intention,

inability, or other bad faith. To succeed on its claims in this case, LSTC need only show that

Citigroup failed to carry out its contractual and fiduciary obligations; it need not delve into the

mental state underlying Citigroup’s conduct. No material misrepresentation serves as a necessary

component to Plaintiff’s straightforward breach of contract and fiduciary duty claims. See Gurfein

v. Ameritrade, Inc., 2006 U.S. Dist. LEXIS 75374, at *3 (S.D.N.Y. Oct. 13, 2006). Accordingly,

SLUSA preclusion is not appropriate.

       Rather than contend with the “necessary component” standard in this Circuit, Citigroup

ignores the relevant framework altogether and relies instead on out-of-jurisdiction cases that are

readily distinguishable. In so doing, Citigroup offers its own purported allegations based on its

selective and misleading interpretation of the underlying communications.

       Citigroup claims that courts “routinely dismiss best execution claims as precluded by

SLUSA,” without any explanation of the substance of those claims or how they are similar (or not)

to the claims at issue here. Each of the best execution cases Citigroup relies on are, however,

distinguishable from this case and inapposite to deciding this motion. Rayner v. E*Trade Fin.

Corp., the only Second Circuit case that Citigroup cites in support of its argument, involves

allegations of a kickback scheme whereby the defendant made misrepresentations regarding best

execution “that were designed to induce [its] clients” while secretly holding a conflict of interest.

899 F.3d at 120. Here, unlike in Rayner, LSTC does not allege that any statements by Citigroup



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induced it to enter into the agreement as to the Affected Orders or that Citigroup was engaged in

any kickback scheme, held any secret conflict of interest preventing it from performing, or had

undisclosed intentions not to perform. Indeed, Rayner was subsequently distinguished in Rupnow

on similar grounds. 2021 U.S. Dist. LEXIS 235975, at *13 (explaining that Rayner “involved a

defendant who allegedly had no intention of fulfilling its purported fiduciary obligations” (internal

quotation marks omitted)). In Rupnow, as in this case, plaintiffs did not allege that the defendant

“secretly intended not to perform or knew that [it] could not perform” and, therefore, SLUSA did

not apply. Id.

        Citigroup’s reliance on out-of-jurisdiction cases fares no better. In Fleming v. The Charles

Schwab Corp., the substance of the allegations was that the defendant, again motivated by a

conflict of interest, was engaged in a “deceptive scheme” whereby it “deceived” plaintiff that it

would deliver best execution but knew that it would not do so because of its conflicting

arrangement for financial payments. 878 F.3d 1146, 1154 (9th Cir. 2017). Citigroup also fails to

mention that the Ninth Circuit in Fleming made clear that “not every breach of the best execution

duty . . . is [] subject to the SLUSA bar. . . . SLUSA only bars best execution claims to the extent

that a best execution violation is based on fraud or nondisclosure.’” Id. (citations omitted). In Lewis

v. Scottrade, Inc., the plaintiff alleged that Scottrade violated best execution by directing nearly all

customer orders to a particular trading venue in order to “maximize kickback revenue.” 879 F.3d

850, 854 (8th Cir. 2018). As in Rayner, the courts in Fleming and Lewis focused on allegations

involving defendants motivated by secret conflicts of interest incompatible with the duty of best

execution. That is not the case here.7


7
  Miller v. Metro. Life Ins. Co. is simply off base. 2019 U.S. Dist. LEXIS 159777 (S.D.N.Y. Sept. 17, 2019). Not only
did this opinion not address fiduciary duty claims, but also, there, plaintiffs alleged that they were induced to pay
excessive premiums because of defendant’s “deceptive practice” of defaulting to smoker status upon enrollment. In
this case, there are no allegations of deception.

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       The remainder of Defendant’s arguments rely on its re-writing of the Complaint and

mischaracterizations of the underlying communications, which is entirely inappropriate on a

motion to dismiss and without merit. See MDCM Holdings, Inc. v. Credit Suisse First Bos. Corp.,

216 F. Supp. 2d 251, 257 n.12 (S.D.N.Y. 2002) (“Because the determination of whether SLUSA

applies may only be made by reference to what a party has alleged, and not what it could have

alleged, courts should be wary of a defendant’s attempts to recast the plaintiff’s complaint as a

securities lawsuit in order to have it preempted by SLUSA.”). First, Citigroup recasts LSTC’s

breach of contract count as a claim that “CGMI misrepresented that it would execute the second

wave of trades on the terms Loomis provided, and therefore in accordance with its alleged duty of

best execution.” Dkt. 36 at 20. This is not the case; LSTC has not and does not allege that Citigroup

misrepresented its intention to carry out the orders as instructed when it accepted them. Rather, as

described above, LSTC alleges that Citigroup agreed to carry out the Affected Orders consistent

with the instructions provided, and then failed to do so. Citigroup’s manipulation of the underlying

communications does not alter the nature of Plaintiff’s allegations.

       Second, Citigroup claims that “the precise trading instructions for CGMI were not finalized

until right before the 3:50 p.m. cutoff.” Id. at 22. Defendant offers no support for its position that

its unilateral (and incorrect) interpretation of the underlying communications should govern at the

pleading stage or its contention as to when the trading instructions were “finalized.” As explained

above, Citigroup’s position as to the final instructions is contradicted by Chiomastro’s

confirmation that the supplemental orders were governed by “the same instructions” provided at

2:30 p.m. Dkt. 37-1 at 3:22:34 p.m. – 3:23:22 p.m. Citigroup’s attempt to manipulate and

misinterpret the underlying communications in order to achieve SLUSA preclusion is




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impermissible and should be rejected. Paru, 2006 U.S. Dist. LEXIS 28125, at *4; see also Rupnow,

2021 U.S. Dist. LEXIS 235975, at *9.

       Third, Citigroup attempts to turn statements made by Chiomastro after Loomis provided

the instructions and placed the orders with Citigroup into a misrepresentation that purportedly (and

inexplicably) induced those same orders. Again, Defendant’s interpretation is without merit and

should be rejected. Chiomastro’s statements made after Citigroup’s acceptance of the orders were

largely in the form of unilateral updates and do not form the basis of the parties’ agreement as

alleged in the Complaint or the basis of LSTC’s claims. See supra Point I.B. While these

statements by Chiomastro may provide evidence that Citigroup was aware of some steps needed

to carry out the instructions and its related obligations as broker, they are not misrepresentations

that serve as a “necessary component” of LSTC’s claims. Indeed, had Chiomastro never made

such statements and Citigroup placed the entirety of the Affected Orders in the closing action as it

did, LSTC’s claims would remain unchanged. Citigroup then makes a conclusory leap that because

Gagnon did not “express any dissatisfaction or concern” in response to Chiomastro, Loomis must

believe it was misled. This conclusion is wrong as a matter of logic and fact.

       Fourth, Citigroup argues that “LSTC explicitly alleges that CGMI withheld information

that would have affected Loomis’s instructions prior to the closing auction.” Dkt. 36 at 23. Yet

again, this argument relies on Citigroup’s unilateral conclusions, contrary to the Complaint and

the record, that there were no final instructions until the closing auction. LSTC alleges that after it

placed the orders and instructions with Citigroup, triggering Citigroup’s obligations, and before

Citigroup entered the MOC orders, Citigroup became “aware that the quantities for the Affected

Orders ‘were bigger than [the] street’ and would ‘dominate the trade.’” Compl. ¶ 52. This

allegation demonstrates the egregious nature of Defendant’s failure. It is not a misrepresentation



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that induced LSTC to place the orders with Citigroup, nor does it serve as a necessary component

of the claims. This singular, extraneous allegation could be entirely removed and have no impact

on LSTC’s claims. See In re Kingate Mgmt. Litig., 784 F.3d at 142-43. For the foregoing reasons,

LSTC’s claims are not foreclosed by SLUSA.

III.   THE BREACH OF FIDUCIARY DUTY CLAIM IS NOT DUPLICATIVE OF THE
       BREACH OF CONTRACT CLAIM.

       In the final two pages of its brief, Citigroup asserts that the fiduciary duty claim is

duplicative of the contract claim. Dkt. 36 at 24. This argument fails. A fiduciary duty claim should

not be dismissed as duplicative where the duties at issue are independent of the terms of the

contract. Rhoda v. Rhoda, 2017 U.S. Dist. LEXIS 105288, at *57 (S.D.N.Y. June 22, 2017). Here,

the fiduciary duty claim arises from Citigroup’s duties as broker and agent, independent of the

terms of the parties’ agreement.

       Courts have frequently recognized that agents, including, for example, employees and

managers, have independent fiduciary duties that remain alongside any express contractual duties.

See, e.g., id. (finding that business manager had common law fiduciary duties that did not

necessarily arise from the employment contract); Zurich Am. Life Ins. Co. v. Nagel, 538 F. Supp.

3d 396, 403 (S.D.N.Y. 2021) (“[E]mployees owe fiduciary duties to their employers, independent

of any contractual duties.”). It is well-established that brokers, as agents, owe common law

fiduciary duties to their principals, independent of any contract. See, e.g., De Kwiatkowski, 306

F.3d at 1302 (“On a transaction-by-transaction basis, the broker owes duties of diligence and

competence in executing the client’s trade orders, and is obliged to give honest and complete

information when recommending a purchase or sale.”); Gurfein v. Ameritrade, Inc, 2007 U.S. Dist.

LEXIS 51801, at *9-10 (S.D.N.Y. July 17, 2007) (“Ameritrade is under an independent duty to

make reasonable efforts to provide best execution, arising from common law agency principles


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which require broker-dealers ‘to use reasonable efforts to maximize the economic benefit to the

client in each transaction.’”); Restatement (Second) of Agency, § 381.

       As this Court explained in AMBAC Assurance Corp. v. United States Bank National

Association, “[i]t is well settled that the same conduct which may constitute the breach of a

contractual obligation may also constitute the breach of a duty arising out of the relationship

created by the contract but which is independent of the contract itself.” 328 F. Supp. 3d 141, 156

(S.D.N.Y. 2018). This rule has particular force where the precise contours of the contractual duties

at issue have not yet been determined. See, e.g., Zurich Am. Life Ins. Co., 538 F. Supp. 3d at 403

(holding that breach of fiduciary duty claim was not duplicative of breach of contract claim); see

also Indep. Asset Mgmt. LLC v. Zanger, 538 F. Supp. 2d 704, 710 n.4 (S.D.N.Y. 2008) (“It would

be especially inappropriate to dismiss the claim founded on fiduciary duty . . . [on a motion to

dismiss], when the exact duties of the parties under the contract have not yet been determined.”).

       Here, the precise terms of the parties’ agreement are very much in dispute. LSTC alleges

that the parties’ agreement as to the Affected Orders required Citigroup to both abide by the

express instructions communicated around 2:30 p.m., and also impliedly required Citigroup to

provide best execution. LSTC also alleges that, regardless of the ultimate contours of the parties’

agreement, Citigroup, as broker, owed it a fiduciary duty of care, including the duty of best

execution and the duty to exercise reasonable diligence. Compl. ¶¶ 76-79. Where, as here, a

defendant owes a common law fiduciary duty that may not be subsumed in the terms of the

agreement, the fiduciary duty claim is not duplicative. Rhoda, 2017 U.S. Dist. LEXIS 105288, at

*55-57; see also AMBAC Assurance Corp., 328 F. Supp. 3d at 157.

       The cases Citigroup relies on are distinguishable and do not support dismissal of LSTC’s

fiduciary duty claim. First, Citigroup relies extensively upon AMBAC Assurance Corp., 328 F.



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Supp. 3d at 141. In that case, the court concluded that common law “fiduciary duties of undivided

loyalty exist[ed] separate and apart from the . . . duties memorialized in” the written agreements

at issue, and, therefore, declined to dismiss those claims as duplicative. Id. at 156 (internal

quotation marks and citations omitted). Second, Citigroup’s reliance on Northern Shipping Funds

I, LLC v. Icon Capital Corp., 921 F. Supp. 2d 94 (S.D.N.Y. 2013), is misplaced. In that case, unlike

in the present matter, the plaintiff did not allege that the defendant had a common law fiduciary

duty apart from the parties’ written contract. Id. at 104-05.8

         Citigroup argues that, because the communications forming the relevant contract “also

establish the existence, extent, and nature of the fiduciary relationship,” the fiduciary duty claim

must be duplicative. This is incorrect. Citigroup’s common law fiduciary duty was established

based on its role as agent and broker, and independent of the contractual undertaking. If, for

example, Loomis had merely sent an electronic trade order to Citigroup without the

communications at issue here, Citigroup would still be Loomis’s broker and agent and would have

the associated duties of agency at common law. Here, the communications provide additional

information on the scope of that agency relationship, but they do not solely give rise to Citigroup’s

duties. Accordingly, LSTC’s fiduciary duty claim is independent of its breach of contract claim

and neither should be dismissed.

                                                CONCLUSION

         For the foregoing reasons, the Court should deny Citigroup’s motion to dismiss.




8
 Citigroup also cites Uni-World Capital, L.P. v. Preferred Fragrance, Inc., which is of no relevance here. 43 F. Supp.
3d 236 (S.D.N.Y. 2014). In that case, “[n]o defendant moved to dismiss any claim” and, more importantly, it was
undisputed that the plaintiff’s breach of fiduciary duty claim was “duplicative of [its] proposed breach of contract
claim.” Id. at 241-42.

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                                      Respectfully submitted,

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